United States District Court for the         ~"""-~        7f~ 1 ~ C~
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                                                     Notice of Appeal                                        E, JR., CLERK
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        Notice is hereby given that      ~    ~J. tJ~                                  (plaintiffs)
(defendants) in the above named case,* hereby appeal to the United States Court of Appeals for the
   4   d      Circuit                                           . --                entered in this
action on the _LL day of ~ . _ _ _.                       ~,,,.
                            ~


                                              (s)   -,;' =4J W.dL;,_,
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* See Rule 3(c) for permissible ways of identifying appellants.




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                          UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              CASE NO. 4:20-CV-230-FL

                         APPEAL BUT NOT IN FORMA PAUPERIS

                         GIVE ME LIBERTY OR GIVE ME DEATH



1. Pro se plaintiff alleges that errors affecting substantial rights may be considered on
   motion for new trial or an appeal though not raised in rial court if manifest injustice or
   miscarriage of justice has resulted, is invoked on case to case basis, but there must be
   sound, substantial manifestation, a strong, clear showing, that injustice or miscarriage of
   justice will result if the rule is not invoked. See, State v Meiers. Mo.412 SW 2d 478,
   480. For there tobe "errors" warranting reversal absent objection, there must be legal
   impropriety affecting the defendants [all to White] substantial rights, sufficiently
   grievous to justify notice by "viewing and reviewing" court and to convince it that, of
   itself, errors possessed clear capacity to bring about unjust result. See, State v Harris, A
   D 174 A 2d 645,646, 70 NJ Super 9. Therefore, the doctrine which encompasses those
   errors, committed by the defendants, on March 17, 1997, which are obvious and highly
   prejudicial, which affected the substantial rights of plaintiff Willis, and which, if
   uncorrected, could, should, and would be an affront to the integrity and reputation of
   judicial proceedings. See, U S v McCord, 166 U S App DC 1 509 F 2d 334, 341.

2. Prose litigant alleges that the United States Court of Appeals, 4th Circuit, has decided an
   important question, 96-2066, [filed Mar 1997], of federal law in a way that it conflicts
   with the decision of 7:95-MC-17-F[filed Sept & Oct 1995], and another state court, that
   has not been, but should be, settled by this court, and where the defendants [herein]
   cannot show every specific instance in which they have been prejudiced. See, cases
   filed Apr 5, 2002, by Honorable Judge Malcolm J. Howard.


3. The court should be convinced that Willis' rights to a speedy appeal has been violated in
   this case. Although the remedy of dismissal is a severe consequence, it is the proper
   remedy for a denial of this right, so states the plaintiff [herein], once more ~ n -
   See, Strunk v United States, 412 US 434, 93 S Ct 2260, 37 L Ed 2d 56 (1973).


4. The court should rule, and hold, with the plaintiff that he is entitled to relief, where the
   defendants, altogether, failed and refused, to acknowledge that the Town of Trenton
   had previously filed Case No. 7:95-MC-17-f[Sept & Oct 1995] app. 19 mos. prior to Case
   No. 96-2066 [March 1997], where this court should reverse and remand, against whom
   it is directed, the case to the District Court for the purpose of taking such additional
   evidence as may be necessary to make findings as to exactly what services would now



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   be in place were it not for intentional, intended, intent racial discrimination, and for the
   purpose of them devising appropriate remedies directed only to the proven effects of
   the constitutional violation and protection against future violations.


5. Plaintiff alleges that pro se litigant, herein, alleges that he, personally, "therefore is
   entitled ...... to have the credibility of his evidence as forecast assumed, his version of all
   that is in dispute accepted, all internal conflicts in it resolved favorably to him, the most
   favorable of possible alternative inferences from it drawn in his behalf, and finally to be
   given the benefit of all favorable legal theories invoked by evidence so considered.


6. Pro se plaintiff alleges that in this [past] matter being enforced by the defendants, while
   acting in conspiracy, and under color of law, altogether, and to give strength to, by
   adding their forces, emphasis or impressiveness to gain by force or compulsion, and to
   put in execution, and capable of being enforced by the denial of equal sewage services
   as to its "denial dilution" by the defendants, where plaintiff do, and did, request the
   court, from 1955 - 2020, to find segregation of inequality [denial of equal protection
   and due process], and positive acts of exacerbation, and aggravation in the "Denial of
   Due Process and Equal Protection Clause" that could, would, and should be found to be
   unconstitutional, wherefore, I ask the court to view, and/or, review [not cursory], the
   favorable evidence where the plaintiff, minorities, people of color, and all others
   similarly situated that were submitted contemporaneously with the events at issue.
   Therefore, no state or federal government may effectively abdicate its responsibilities
   by either ignoring them or by merely failing to discharge them whatever the motive
                                                                    th
   maybe. See, City of Greensboro v Simkins, 246 F2d 425 [CA 4 Cir], affirming 149 F Supp
   562 [DC MD NC]; Tate v Depot of Conservation, 133 Supp 53 [DC Ed Va], Affd, 231 F 2d
   615 [Ca 4th Cir] which has fallen on deaf ears, and/or, has fallen on blind eyes.

7. Plaintiff alleges, however, no claimant is required to demonstrate by direct evidence a
   casual nexus between his or her relatively depressed socio-status and a lessening of
   their opportunity to participate effectively in the political process, "where the court
   could not have position itself more poorly." Whereas, the Supreme Court has stated
   that wealth as well as race renders a classification highly suspect and thus demanding of
   a more exacting judicial scrutiny. See, McDonald v Board of Elections Commissioner of
   Chicago, 394 U S 802, 807, 89 S Ct 1404, 221 Ed 2d 739 (1969).


8. Prose litigant alleges that what was filed in the District Court that was frivolous,
   therefore, plaintiff is requesting said copies of said complaints, and where the District
   Court never, ever filed a pre-filing injunction, before Apr 5, 2002, aff'd, 50 F app'x 648
   (4th Cir 2002), where Case #7:95-MC-17-F filed Oct 12, 1995, had denied such action. A
   pleading is "frivolous" when it is clearly insufficient on its face [where the District Court
   is requested to said evidence], and does not controvert the material points of the




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   opposite pleading, and is presumably interposed for more purposes of delay or to
   embarrass the opponent. Frivolous pleadings maybe amended to proper form, or
   ordered stricken, under federal and state rules of civil procedure [plaintiff's cases were
   dismissed from 1995 - 2021], therefore, the District Court, never, ever informed the pro
   se plaintiff, and/or, compel the plaintiff to file a new pleading which may be amended
   [1995 - 2021]. Permit the plaintiff to see said evidence.


9. Plaintiff alleges that as to Cases# 4:19-MC-1, 4:13-MC-2014-WL, Honorable Judge
   Malcolm J. Howard, [retired], never, ever, and/or, the District Court respond to said
   complaints, or any complaint filed under MC status. Plaintiff asks the court to view,
   and/or, review [not cursory], any an all complaints filed by the plaintiff which were
   frivolous pleadings as to embarrass the opponent[s], herein before, and herein after.


10. Plaintiff, further, alleges for there to be, and do claim that "plain error'' warranting
    reversal absent objection, there is legal impropriety affecting defendant's substantial
    rights, sufficiently grievous to justify notice by viewing, and/or, reviewing [not cursory]
    court and to convince it that, or itself, error possessed clear capacity to bring about
    unjust result [E.D.N.C. Apr 5, 2002] aff'd, 50 F App'x 648 (4th Cir 2002). See, State v
    Harris, A.O. 174 A 2d 645,646, 70 N.J. Super 9.


11. Plaintiff alleges that the court order filed in Case #4:20-CV-230-FL, "that this court has
    enjoined plaintiff "from filing any additional cases in this district [ See, Case # 7:95-MC-
    17-F filed June 3, 2021] which encompasses those errors which are obvious and highly
    prejudicial, which affect the substantial rights of the accused, and which, if uncorrected,
    would be an affront to the integrity and reputation of judicial proceedings. See, U.S. v
    McCord, 166 U.C. App D.C. 1, 509 F 2d 334, 341.


12. Plaintiff alleges that one rendered after argument and investigation, and when it is
    determined which party is in the right, as distinguished from a judgment rendered upon
    some preliminary or formal or merely technical or procedural point, or by default and
    without trial. A party whose case has been "dismissed, and/or, denied" without
    prejudice can bring the same suit again so long as the procedural errors are corrected
    (i.e. cured) in the later action. Where the court, based on the foregoing, the court
    dismisses the instant action on the basis of the court's pre-filing injunction dated Apr 5,
    2002. See, Cases# 7:95-MC-17-F, appended hereto.


13. Plaintiff asks this court to view, and/or, review [not cursory], any and all exhibits
    appended hereto. The plaintiff has filed many, many, lawsuits against the Town of
    Trenton [in its MC position], concerning the Town of Trenton, challenging the at-large




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   election method allegedly used by the Town of Trenton, from its initial beginning, unto
   this very day.


14. The court has continued to result in two [2] pre-filing injunctions entered against him.
    First, this district court has enjoined plaintiff "from filing any additional cases in this
    district involving the Town of Trenton never, ever, and/or, [the former Mayor J. Leggett
    has deceased] without prior approval of the court. see, 4:96-CV-6-H4, 4:99-CV-159-H4,
    filed Apr 5, 2002, affd, 50 F App'x 648 [4th Cir 2002]. Second, the Fourth Circuit [Fourth
    Circuit, Richmond, Va.] has enjoined plaintiff "from filing pleadings in any pending
    lawsuit, action, proceeding, or matter in the United States District Court for the Eastern
    District of North Carolina against any person o entity in [forma pauperis] forma
    pauperis] without first obtaining leave of the court to so proceed. See, Willis v Town of
    Trenton, #96-2066 [4th Cir Mar 17, 1997]. Plaintiff states that Cases #4:20-CV-203-M
    and 4:20-CV-230-FL were paid for in cash, not the use of "forma pauperis." Plaintiff asks
    the court to view, and/or, review [not cursory] Case# 96-2066 [its heading]. Plaintiff
    has never, ever used an "exceptional history of frivolous filings and appeals" in the
    federal, for plaintiff is asking the court to produce said evidence.

15. On March 18, 2021, or about, plaintiff gave notice to the Clerk of Court that she "dis
    not" give plaintiff a process to serve "the Jones County Board of Elections," and filed a
    letter to show good cause for this failure within 14 days. Pursuant to Rule 4 [M].
    plaintiff did file, or "at least it was his intentions o file a civil complaint against the
    J.C.B.O.E.


16. Aside from the Fifteenth [15 th ] Amendmen~, which guarantees the equal right to vote
    without regard to race, color, or previous condition of servitude [where no person of
    color has been elected or appointed as a member of the Trenton Town Council, as a
    delegate, herein], the basic federal prohibitions against discrimination in voting are {1)
    the Fourteenth [14th ] Amendment, which prohibits intentional, intended, intent
    discrimination by "public officials," who uses the at-large method of elections, to elect
    its aldermen.


17. Prose plaintiff cites 42-U.S.C. Section 10301 as relevant U.S. Code Section. Prose
    plaintiff is not a lawyer in the State of North Carolina, or any other state, he has never,
    ever, attended a class filled with law students, for plaintiff intended or intends to
    reference 52 U S C Section 10301, the codified section of VRA that prohibits the denial
    or abridgement of the right to vote on account of race or color through voting
    qualifications or prerequisites, rather than 42 U SC Section 10301, which concerns
    congressional findings and declarations regarding the Water Resources Act of 1984.




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18. Reconstruction - era statutes imposing civil and criminal penalties upon those who
    interfere with voting rights, and (3) the modern Voting Rights Act of 1957, 1960, 1964,
    and 1965 [amended in 1970, 1975, 1982, and 1992]. Of these statutory prohibitions, by
    far the most important is the Voting Rights Act of 1965, which prohibits literacy and
    other tests for voting, provides for the appointment of federal voter registrations, and
    examiners, requires federal approval of changes in voting in those jurisdictions that have
    a history of voting discrimination and low voter registration and turnout, and provides
    that voting practices that result in discrimination are unlawful whether or not they were
    enacted or are being maintained with a racially discriminatory purpose.


19. Democracy doesn't just happen!!! You have to stand up for it. Plaintiff alleges that the
    path to an undemocratic America that doesn't happen in one fl] bang, but in a series of
    steps. The Fifteenth [15 th ] Amendment prohibits purposeful discrimination in voting at
    all levels of the political process by federal, state and local officials on the bases of race,
    color, or previous condition of servitude. The amendment, in the words of the Supreme
    Court, "nullifies sophisticated as well as simple minded modes of discrimination," and
    makes unlawful "onerous procedural requirements which effectively handicap exercise
                                                                                          th
    of the franchise by the [people of color] Colored Race." While the Fifteenth [15 ]
    Amendment was enacted as a limitation on public officials, the acts of private
    individuals have been held unconstitutional under it where they perpetuate or act as a
    substitute for official discrimination.


20. Remember, plaintiff is eighty [86] six years old [9-9-1934], born in Trenton, North
    Carolina, under segregation, where the requisite [demand] in writing, or formal request
    or requirement; filed on April 27, 2021, where plaintiff did not move to proceed in
    forma pauperis, and plaintiff failed to respond In naming originally the Town of Trenton,
    simply and solely, because the court would never, ever, respond. There is nothing in the
    "orders" pursuant to Rule 4 [M). however, the later corrective document [DE 15] and
    second amended complaint [DE 20] required leave of court to be filed, and plaintiff did
    not so move [nor did the court remind him], and, therefore, these filings did not amend
    his pleadings.


21. The court never, ever, stated Rule 15 (a) allows a party to amend its pleadings as a
    matter of course, if the pleading is one to which a responsive pleading is required, and
    where plaintiff has never, ever been a student of law, and plaintiff did not so move and
    therefore, those things did not amend the pleadings, and was not told by the District
    Court. Therefore, plaintiff's commencement of this action without prior approval of the
    court, who has never, ever responded, and where this action without prior approval of
    the court, who has never, ever responded, and where this action without prior approval
    of the court was never, ever in violation of the court's pre-filing injunction. In addition,
    the court finds no good cause [where no persons of color has never, ever been elected




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   or appointed to the Trenton Town Council as Town Aldermen] for allowing filing of the
   instant action, in light of plaintiff's recent additional attempts to commence actions
   involving the Town of Trenton, and the legal deficiencies in [Pro Se] plaintiff's complaint,
   where the District Court, never, ever addressed such to the plaintiff, as detailed further
   herein.

22. Plaintiff alleges that although against government policy, discrimination still occurs
    because some individuals do not follow the law. Although the government has enacted
    laws to prevent state and local government from engaging in intentional, intended,
    intent discrimination still occurs not only because some people refuse to follow the law,
    like defendants, herein, but also because, in many instances, discrimination is difficult to
    prove. Theoretically, the Fourteenth [14th ] Amendment's Equal Protection Clause
    prohibits state and local governments from engaging in intentional, intended, intent
    discrimination. On the court's own initiative, the court "failed and refused" to view.
    and/or, review [not cursory] the instant action for compliance, with its exhibits
    appended hereto, with the court's pre-filing injunction, and where the court "only
    viewed what was good for the defendants, herein, and it did "not" effectively amend
    the complaint [DE 20] required leave of court to be filed.


23. The plaintiff, herein, did file or attempted to file the following as follows, or at least it
    was his intentions:
            The plaintiff, herein, "is therefore entitled ...... to have the credibility of his
    evidence as forecast assumed, his version of all that is in dispute accepted, whether
    plaintiff is pro se or not, and all internal conflicts in it resolved favorably to him, the
    most favorable of possible alternative conflicts in it resolved favorably to him, the most
    favorable of possible alternative inferences from it drawn in his behalf; and, finally, to
    be given the benefit of all favorable legal theories, which was not done in this case,
    invoked by evidence so considered." See, Charbonnages de France v Smith, 597 F 2d
    406, 414 (4th Cir 1979); See also, Chastain v Litton Systems. Inc .• 694 F 2d 1334 (1983);
    Smith v University of North Carolina, 632 F 2d 316, 338 [4th Cir 1980]. Plaintiff
    therefore, stated the facts in Case #4:20-CV-230-FL in accordance with these principles,
    "which were not dismissed or denied out of benevolence but malice." Therefore, no
    state or federal government, including the District Court may effectively abdicate its
    responsibilities by either ignoring them or by merely failing to discharge them whatever
    the motive maybe, for plaintiff has filed many, many, many lawsuits, under MC against
    said defendants, to no avail, from on/or about 1960- 2017, with no response from the
    District Court. See, City of Greensboro v Simkins, 246 F 2d 425 [C.A. 4th Cir], affirming
    149 F Supp 53 [DC Ed Va], aff'd, 231 [21] 615 [Ca 4th Cir] which has fallen on deaf ears.

24. In Roseboro v Garrson, 528 F 2d 309 [4th Cir 1975], where these Cases# 20-CV-230-FL
    and Cases# 20-CV-203-M should have held that a District Court must advise a pro se
    litigant of his rights under the summary judgment rule, which the District Court failed,
    and refused to do many, many, many times, and to file opposing affidavits to defeat a



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   defendant's [or court's] motion, and Congress provided that a violation of plaintiff's Civil
   , either the discriminatory purpose or the discriminatory result of a challenged practice,
   and where the plaintiff's Civil Rights Act of 1965 abolished tests or devises which were
   used then and now, to disfranchise racial minorities, "at least in theory."

25. Plaintiff alleges that a complaint to a higher tribunal of an error or injustice committed
    by this District Court in which the error or injustice is sought to be corrected or
    reversed. See, Board of Ed of Cleveland City School Dist v Cuyahoga County Bd of
    Revision, 34 Ohio St. 2d 231, 298 N.E. 2d 125, 128; See also, Exhibits appended hereto.


   1. There has never, ever been a person of color, elected or appointed to the Trenton
      Town Council, as an alderman.
   2. There has never, ever been sidewalks, curbs, gutters, or storm drainages in
      neighborhoods of color.
   3. There are no persons of color on the Jones County School Board.
   4. There has never, ever been an "lnfrastructive plan," simply and solely, for an
      Af~ican-American Community.
   5. African-Americans pay their fare share of Ad Valorem Taxes [the more common ad
      valorem tax, is that imposed by states, counties, and cities on real estate.
   6. Based on information and belief, there has never, ever been a person of color
      "arrested" for not paying his or her fair share of ad valorem tax.
   7. There are no principals or superintendents on the school board.
   8. Persons of color were never, ever appreciated in the Town of Trenton [See, Exhibits
      # F appended hereto].

26. The Honorable Judge Malcolm J. Howard or any other judge has never, ever issued a
    pre-filing injunction in this and/or, any other action since Sept 1995 for compliance with
    the court's pre-filing injunction. See, Case# 7:95-MC-F, filed Oct 12, 1995, appended
    hereto.

27. Plaintiff alleges that while single member districts are the most commonly used
    alternative to at-large elections, they do not always provide an adequate remedy. The
    minority population is "not" so dispersed that it is possible to construct districts in which
    the minority is a majority of the population. Under the circumstances, other election
    procedures, such as limited or cumulative voting, may provide a more complete and full
    remedy for vote dilution.


28. Plaintiff alleges that the amendment of Section 23 accelerated the pace of voting rights
    litigation. It has brought about a general decline in at-large elections and an increased
    use of district voting. District voting in turn "will" facilitate political participation and
    office holding, and use of 58 U.S.C. Section 10301.




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29. Plaintiff alleges, further, that despite the undeniable progress, minorities clearly have
    not yet achieved equality of political participation, as measured by office - holding and
    voter registration and turnout. Nationally, African-Americans comprise a small percent
    of eligible voters in the Town of Trenton, who has never. ever had a person on the Town
    Board as Town Alderman, from its beginning, unto now, but no African-Americans in
    "elected or appointed" offices. The rate of office-holding [in the Town of Trenton or its
    county-wide courthouse] of other racial minorities is similarly low. Registration and
    turnout statistics, which are depressed for all voters, also show racial disparities.


30. Why would a "law-suit" filed in the same manner as Case #4:20-CV-230-FL. be
    considered as "frivolous," in addition, the court has "always" found no good cause for
    allowing filing of the instant action, in light of plaintiff's recent additional attempts to
    commence actions involving the Town of Trenton, its "new" mayor, and the legal
    deficiencies [so states the District Court] in plaintiff's complaint[s], as detailed, further,
    hereinabove.


31. WHEREFORE, plaintiff commenced these actions without approval of the court, who has
    never, ever responded to plaintiff's case[s] was in violation of the court's pre-filing
    injunction, "which was never, ever issued." In addition, the courts [District Courts],
    finds no good cause for allowing filing of the instant action, in light of plaintiff's recent
    additional attempts [where plaintiff did "file" an affidavit requesting permission to file
    said action[s], therein] to commence action[s] involving the Town of Trenton, and where
    the legal deficiencies in plaintiff's complaint[s], "are proper and legal," in sum, the court
    DISMISSES this instant action on the basis of the court's pre-filing injunction, if any, and
    where the plaintiff has been litigating in forma pauperis. and in so alleging in previous
    orders entered herein [when, where, and who] for failure to state a claim upon which
    relief can be granted, and plaintiff continues to state in dismissing [instead of reissuing
    the claims against the Jones County Board of Elections, according to Summary
    Judgment Rules] the claims against the defendant Jones County Board of Elections
    pursuant to "Rule 4[M], whereas, the undersigned entered an order [Case# 7:95-MC-
    17-F] to show cause directing Daniel Johnson Willis, if any there be, why this court
     [under Honorable James C. Fox, deceased, filed Oct 12, 1995) should not enter a pre-
    filing injunction [where no other Judge or court has never, ever filed such a pre-filing
     injunction issued to the plaintiff, herein], requiring the plaintiff to obtain leave of court
     before filing any future actions.

32. Plaintiff alleges that "he" filed said affidavits, "begging" the courts for permission to file
    said suits, which contained sufficient factual matter, and should have been accepted as
    true, to "state a claim to relief that is/or plausible on its face[s]." See, Ascroft v Iqbal.
    556 U.S. 662, 678 (2009) [quoting Bell Atl Corp v Twombly, 550 U S 544, 570 (2007).
    These factual allegations [See, exhibits appended hereto] were enough to raise a right
    to relief above the speculative level. Twombly, 550 U S at 555. In evaluating whether a



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   claim has previously, and/or, now been stated, the court failed, and/or, refused to view
   or review [not cursory] the complaint, and/or, accept[s] all well pied, prose litigants'
   facts as true, and plaintiff did construe these facts in the light most favorable to the
   plaintiff, and do consider conclusions, ~lements of a cause of action and further factual
   enhancement[s] and warranted inferences, reasonable conclusions, and/or,
   arguments," and plaintiff has standing under Rule 12 (b) {1), whether the court
   "DISMISSES or DENIES" said actions or not, "the court is in error," under Rule 12 (b) (6),
   and other potential grounds for dismissal under Rule 12 (b) (2) [exhibits omitted].


33. Plaintiff asks this Court of Appeals to drop defendant NCSBE's immunity under the
    Eleventh [11 th ] Amendment, and where plaintiff lacks standing, under Rule 12 (b) (1),
    and in light of "Dismissal, and/or, Denial" under Rule 12 (b) (6), where the court has
    reached other potential grounds [as previously stated in other cases] for dismissal,
    and/or, denial under Rule 12 (b) (2).


34. The court failed and refused to accept plaintiff as a pro se litigant, and the rules of the
    District Court, where the court refuses to credit in its analysis, where Section 2 prohibits
    local governments, such as the Town of Trenton, and the Jones County Board of
    Elections and the North Carolina State Board of Elections ......from adopting practices,
    procedures tat "dilutes, and/or, attempts to dilute" the plaintiff's voting strength, as
    complained of, in "past and present actions."


35. Plaintiff, once more and again, asks this court to rely on prose litigants' conclusory
    statements and its own speculation in order to allow plaintiff to proceed with this
    litigation . .!9.Qfil, 556 U Sat 678; Twombly, 550 US at 555 & 570, and where this court
    should grant plaintiff's claim upon which relief can be granted.



                      HONORABLE JUDGE MALCOLM J HOWARD'S COURT

    1. The Howard court failed, and refused to impose appropriate sanctions [where said
       court order filed Apr 5, 2002] as to a pre-filing injunction in the course of any
       litigant's conduct in any matter before the court, although, it screamed from "High
       Hell" where treasonable words set down in writing amount to overt acts of treason,
       and/or, reduced to nothing, to make void, or of no effect, for some reason other
       than a conviction of its justice, which sways judgment and renders the court[s]
       unable to exercise its functions impartially in particular case[s] filed, herein, by the
       plaintiff, and to dream of the twenty [20] lawsuits filed in Case# 7:95-MC-17-F [Sept
       & Oct 1995) that got away from him, and he has never. ever stopped trying, for
       playing the "race card," had become hesitate to impose appropriate sanctions,
       when, and if the need ever arose, for the District Court Judges will never, ever




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   outfox Judge Howard [retired]." For he who seeks equity must do equity" [this
   expression means that the party asking the aid of a court for equitable relief must
   stand in a conscientious relation toward his adversary and the transaction from
   which his claim arises must be fair and just and the relief must not be harsh and
   oppressive upon the defendant[s]], See, Jacklich v Baer, 57 Cal App 2d 684, 135 P 2d
   179, 184. It is in pursuance of this maxim that equity enforces the right of Town of
   Trenton's council, as aldermen, in equity to a settlement. See, Bates v Dana, 345 Mo
   311, 133 S W 2d 326, 329.

2. In court order, filed Apr 5, 2002, on page 3, paragraph 1, the court stated as follows:
       "As background, the court notes that since 1990 Plaintiff Willis has filed a total of
       38 actions against various Trenton Defendants." [The court had no actions in its
       background].

3. As background, Judge Howard was thinking about the actions filed in Case #7:95-
   MISC-17-F on Sept 21, and Oct 12, 1995, "that got away from him," and filed
   another case without justice [a sign of old age], and racial jurisdiction, Apr 5, 2002,
   and today the federal judges would never, ever go against said judge, right or wrong.
   What a damn shame!!!

4. All of the actions were dismissed by Judge Howard "and his cronies" and considered
   "moot," and where !!Q, .!}Q, court would look into, previously. The District Court
   states that the actions were dismissed for lack of merit or because plaintiff failed to
   pursue their claims [from 1997 - 2002] Judge Howard has played "all" of us, for
   "damn" fools [smile]. [freedom of speech]. ,


5. Despite the undeniable progress, minorities clearly have not yet achieved equality of
   political participation, as measured by office-holding and voter registration and
   turnout. Nationally, Blacks comprise 11 percent of eligible voters but only 1.6
   percent of elected offices. The race of office-holding of other racial minorities is
   similarly low. Registration and turnout statistics, which are depressed for all voters,
   also show racial disparities, and "WITH LIBERTY AND JUSTICE FOR ALL."

Plaintiff asks this court to view, and/or, review [not cursory] any and all exhibits
appended hereto. Filed June 11, 2021.

Respectfully submitted,

~1\,i;:e
105 Cherry Street
Trenton, N. C. 28585
(252)448-6091
Pro Se Litigant



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                                                        252 830 2793   P.01/05
                USDC GREENVILLE




                    UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                          EASTERN DIVISION


D. JOHNSON WILLIS, LIONEL         )
MEADOWS, ALBERT L, MEADOWS,       )
FURNEY MUNDINE,                   )
          Plaintiffs and          )
          Counter-defendants,     )
                                  )
                v.                )
                                  )
TOWN OF TRENTON, NORTH            )
CAROLINA, JOFFREE T. LEGGETT,     )         No.   4:96-CV-6-H(4)
Town Mayor, EDWARD EUBANKS,   )
WILLARD 0, LEWIS, CHARLES     )
JONES, C. GLENN SPIVEY,       )
McDAVID & ASSOCIATES, RICHARD )
MOORE, Engineer For the Town )
of Trenton, North Carolina,   )
                                  )
          Defendants and          )

______________
          Counter-claimants.      )
                                  )
                                  )
D. J. WILLIS, ALBERT H.           )
BROWN, DORA MILLER, EAYRON        )
GREEN, LENA BROWN, and            )
EARNSTINE BROWN,                  )
                                  )
          Plaintiffs,             )
                                  )
                V.                )
                                  )
MAYOR AND COUNCIL OF TOWN OF )
TRENTON, NORTH CAROLINA,      )             No.   4:99-CV-116-H(4)
SYLVIA A. WILLIS, CHARLES     )
JONES, EDWARD EUBANKS,        )
WILLARD 0. LEWIS, C. GLENN    )
SPIVEY, JONES COUNTY BOARD OF )
ELECTIONS, RICHARD C,         )
TYNDALL, JR,, JAMES BENDER,   )
JR., WILL H. BROCK, GAIL LEE, )
and their successors,         )
                                  )

______________
          Defendants.             )
                                  )




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                                                                  252 830 2793   P.02/05
RPR-05-2002   12:11        USDC GREENVILLE




       D. JOHNSON WILLIS, ALBERT H.  )
       BROWN, EARNSTINE BROWN,       )
       NELSON DOVE, DORA MILLER,     l
       DEBRA CURETON, ANITA B,       )
       BROWN, PHYLISS BROWN, and all)
       others similarly s~tuated,    )
                                             )
                      Plaintiffs,            )
                                             )
                           V,                )        No, 4:0l-CV-13-H(4)
                                             )
       TOWN OF TRENTON, NORTH                )
       CAROLINA, SYLVIA A. WILLIS,           )
       Mayor, COUNCIL OF TRENTON,            )
       NORTH CAROLINA, CHARLES               )
       JONES, EDWARD EUBANKS,                )
       WILLARD 0. LEWIS, C. GLENN            )
       SPIVEY, as defendants and             )
       their successors,                     }
                                             )
                      Defendants.            )
       _______________ )
                                             )
       D. JOHNSON WILLIS, ANITA B.           )
       BROWN, HANNAH C. GRAY,                )
       EARNSTINE BROWN, ALBERT H.            )
       BROWN, NELSON DOVE, and               )
       LIONEL MEADOWS,                       )
                                             )
                      Plaintiffs,            )
                                             )
                           V.                )
                                             )
      TOWN OF TRENTON, N.C., SYLVIA )
      A WILLIS, Mayor, CHARLES      )
      JONES, Town Board Member,     )
      EDWARD EUBANKS, Town Board    )
      Member, WILLARD ODELL LEWIS,  )                 No, 4:01-CV-133-H(4)
      Town Board Member, GLENN      )
      SPIVEY, Town Clerk, THE JONES )
      COUNTY BOARD OF ELECTIONS,    )
      WILL H. BROCK, Chairman,      )
      Board of Elections, GAIL LEE, )
      Director, Board of Elections, )
      SUSAN CAMARET, Secretary,     )
      Board of Elections, MICHAEL   )
      JENKINS, Member, Board of     )
      Elections and/or their        )
      successors,                   )
                Defendants.         )


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                                                  )
        D. JOHNSON WILLIS,                        )
                                                  )
                          Plaintiff,              )
                                                  )
                               V.                 )
                                                  )
        JOFFREE T. LEGGETT, Former   )
        Mayor of Trenton, North       )
        Carolina, VETERANS            )
        ADMINISTRATION FOR THE COUNTY)
        OF JONES, JONES COUNTY, NORTH)
        CAROLINA, TOWN OF TRENTON,    )                         No. 4:01-cv~1s9-H(4)
        NORTH CAROLINA, CHARLES      l
        JONES, as Town Board Member, l
        EDWARD EUBANKS, as Town Board)
        Member, ODELL LEWIS, as Town )
        Board Member, and GLENN       )
        SPIVEY, as Town Clerk; and/or)
        Town Board Members and Town   )
        Clerk's Successors,          )

       _______________    Defendants.
                                                  )
                                                  )
                                                  )


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                      -                                     -                                      .:;,·




       ~-fend:ant_s1 With the exception of the five above-captioned cases,
        the actions have all been dismissed for lack of merit or because
       plaintiffs failed to pursue their claims.                      Invariably, plaintiff
       Willis has been the lead plaintiff in all these cases joined with
       various co-plaintiffs who have had little or no participation in
       the cases.          The court has expressed concern on numerous occasions
       that Willis, who does not have a license to practice law in the


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                                                                                  252 830 2793    P.04/05
APR-05-2002   12:12                USDC GREENVILLE




       State of North Carolina or any other state, has been representing
       his pro g      co-plaintiffs in violation of the laws of the State of

       North Carolina.                The court has repeatedly admonished plaintiff
       Willis that he did not have the authority to act on behalf of any
       other    ~     .§.§.    party and directed Willis to cease his unlawful

       practice of law.
               In the five above-captioned cases,                      Willis is again the lead
       plaintiff.        By order dated February 21,                   2002, the court ordered
       Willis, along with thirteen other                      RI.Q g     plaintiffs,     to appear
       before the court for a pretrial conference.                             The day before the
       scheduled pret~ial conference, Willis filed motions to dismiss four
       of the five cases "without prejudice.~                         The motions applied        only

       to Willis and, in accordance with Rule 41 of the Federal Rules of
       Civil Procedure,               dismissal was not automatic as defendants had
       filed responsive pleadings.                   The court further notes that the
       defendants have spent large amounts of time and money in defending
       these lawsuits, while plaintiffs have exhibited little interest in
       complying with discovery requests or rules of this court relating
       to trial preparation.
               On the day of the scheduled conference,                           none of the     Q£Q

       tt plaintiffs appeared before the court as ordered or contacted the
       court to show cause why they could not                            appear.       l?laintiff s'
       disregard      of       a     specific    order       of   a   United    States   court     is
       inexcusable.           The United States Oistrict Court is a forum supported


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                Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 15 of 35
                                      NAT IONA L ASSOCIATION FOR THE ADVANC
                                                                          EMENT OF COLORED PEO PLE
                                      4805 MT. HOPE DRI VE• BALTIMORE, MD
                                                                           21215-3297 ° (410 )358 -890 0




KWEISI MFUME
Pres,aent & Chief ExecutNe O.'ficer




           July 26, 2004

           Mr. Daniel Joh nso n Willis, Chairman
           Jon es County Imp rove men t Association, Inc.
           P. 0. Box 397
          Trenton, NC 285 85

           Dea r Mr. Willis:

          I am in receipt of you r letter regarding the
                                                           improvements you and your
          Association are look ing to make in and around
                                                             Trenton. Please know that,
          whi le I regret to lear n of the current circumstanc
                                                                 es, it is a\ways extremely
          heartening to learn abo ut the efforts of concern
                                                               ed and active citizens like
          you, who seek to imp rove the world around us
                                                            all.
          Sinc e this is a local issue, I have taken the libe
                                                              rty of forvvarding a copy of
          you r correspondence to Mr. Melvin "Skip" Alst
                                                             on, Pre side nt of the North
          Carolina State Con fere nce of NAA CP Branch
                                                            es, for his review. It is my
          recommendation that you contact Mr. Alston in
                                                            reference to this matter. He
          can be reached in writ ing at P. 0. Box 20547,
                                                            Greensboro, NC 27420, or
          by telephone at (336 ) 275-0851.

          It is my most gen uine hope that you obtain the
                                                               assistance you seek, and I
          than k you for con tact ing the National Office of
                                                             the NAACP.
         Sincerely,




         KM/ crm
                          Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 16 of 35
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                    ro: Daniel Johnson ffillis
                             Pos't Ott.ice Box JS'l
                             Trenton,. N.C..       2-BSe5

                    You here.by are ORD-imSD to shme' aause~ i£. any th~=e be,
        rihy. thi_lJ" -c-oart should ·not issue a p e ~ ~ t ir.tjtu:iction against_ you

       requlring that yau under~ a pre-tiling revi~w of any pleading you
       seek to file- in this district ~er the da_te of entry of such
       injut2ct.ion.      You shall file su·ah response as you .deem appropriate,

       accompa.nied by such docmnentation as is necessary, in compliance
                    ~-
       with this 0RDER TO SROff QWSB on o.r before Obtobe,: 10, 1995.                          Your
       failur_a to t.ilnely t.:o.mply with this OW.BR TO SHOW CAUSE wil.l be
       deemed an admission that no such cause exists,                       and            an c.rder
                                          .    .
       imposing· ·a. permanent injunction will be entered ag~inst you.

                   In~12Eort _of          ~his      ord~r,   the   c;ourt   ~ds                 tfio/
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                         Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 17 of 35
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        Y.2d -91:0, ·974 (4th Cir.. 1981,p                            iU ~ Grjt.hiift·-v-o·ttj.ddl-e, 554 P'.2d
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         l.i tigiou.s ness of. individ uals -who choose to abuse.. -tj,le                                in f o;:rna
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    tJ Akbar v. Wat.son. 901. F.2d 3-29-, 3-JJ. (3d Ci,r. l990~ c-•_when _a dis·tric t
        court is confron ted with. a· pattern of condqe t ~am ~hich it can
        only conclud e that a li.ti9.an t is intenti onaliy ahusins:_l:..he judi.-ci al
        p-roees. s and will continu e to do so unless .rest.r;rJ. .inedr we believe it
         is entitle d to resort to its power of injunct ionv                                    ~    , to protec t

         its proces s•) •

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                       DANIEL J O ~ rm$- ~s--hereby-~:manentiy en:joined· from
     commencing,               filing, ..-w:: . .attempting to initiat-e -~Y new laweuit..1
     action.r p.roc:eeding,, or :;iatter in this :federal diurict against _14:ny
     per.s.on.. ?X: entity td.t.bcmt f.i.rst obtaining lea'1'e of that.. com:t to do
     so.     I..tl   .see.Jti.n9 such leave,. Willis shall. comply vith sch of th~
                 '
     f~llowing requlr-em.en.ts:                                                                          '\

                       l.,,.     Be   shall file a tiot~ f-or Leave .to File Ci.,..,il
     Ac::tlon, attaching to said mot.ion a copy o-f his proposed complaint.;
                      2...        T-ae   iMO'tion- shall   be   supported        by     pla.inti"ff":s

     affidavit, which shall contain, i:n c ~ e f-orm, the following                                           I
                                                                                                              \

     .Lnf-o.tma ti-oiS·:
                      a..       the names -of· arr propo-sed defendants;
                      b.        the primuy u.c:twu allegations ·upon which the cla.il'll
                                is ba$edf                       ·
                      c~       the-· legal basis for the c-laiaf
                      d.       whethe: he prnious.ly h&s litigated the clfdlll in any
                               administrative f01:tm or cow:t t.o a:ny deqree;
                      eo       Whether he bas ever sued. the named defendants in any
                               other eivil case;- and           ·
                      fo       if he preyiou$1y has sued any defendant, ind.i7ate the
                               ens·e, cap.tj.:onf. court_;_ date, and ou.t.c::cme -of .said e:ase,
                               along with filed cc.pie$ of the d ~ n t s purporting
                                to eommence sueh previous actions and certxtied
                                records. of ·-the w~lticms of thotre actions;
                      3.       Attached to plaint1.ff 'S motion and affidavit shall                "be
     a ~opy 0£ this injunctten~

                      Upon the filing Qf plaintiff's Motion for Leave to File
     Civil Action which s.ati;1fies the ~ve requirements, the court will


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                          Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 19 of 35
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.•                         case 4:06-cv-00·14-3--F   Document 12       Fffed 11113/2006         Pa~ 10 of 14


               assess- the M<?,tion, p~oposed
                                      . ·.   . Complaint.
                                                      .   and Affidavit to determine
               whet.her the pleading$ sta-te ,a claim. a.$ a matte.r of law-.                     I-f a claim
               is stated" pl~tiff will be qran-ted leave to p.roc:e.ed with the

               proposed. act-ion.         I:f·· .not.t the mt.ion vill summarily ba denied •
                                                                          .
                              If plaintiff's Motioni Affidavits and filings fail-to
              satisfy the a.hove requirements in any ma.nrierz the Motion will not
              be considered at all.             In addit..i.on,. shoul4 plun.t.$.:.ff_ e.om.m,lt all¥ of·
              the following acts r he lt'Ri.y ~ at a ~ , be fou.nd in contempt of
              c-oU;;t;t,   punished aceo.t'dingl:y Md his case _dismissed if leave t·o
                  .
              proceed has been sra.nted:

                              a..   Ma..~e a... fi:5.l$_e,_a..fil4a.Y..i.t·. ~ su.ppal:t of a Mot.idn for
                                    Leav~ to·F11e Civil Action;·.                   ·
                              b~    :ail to file an a:f.fi:avit in su.p.port of a Mct.ion,Jox
                                    Leave tci File Ci.vil Action;                        ""
                              c.    Attempt t..o c~..ca a civil action without .fir.st
                                    filing a Motion for ::!&ava to File Civil Action; and
                              d.    Oisobe-_y any -other provisions of this order ..
                              Upo:1 presentation b.3 the plaintiff of a Motion fo.r Leave
                       .
              to File Civil 1..cticn,, th.a Cl~rk of Court shall place the matter

              upon the Miscellaneous d-oc:k.a:t. and assign it to a judge on the
              normal rotation .bas.is,,.
                             -Finally.,. ~ . g · in thi.s. ·Cl:der shall. be c:::onst.rued a.s
              precluding plaint.Lf.f"s ability to defend hlmsal.f in any action
              brouqht -a-g-ainst hiJn" civil -o.r c.iri:minaL                 Nor sh.all plaintiff be
              preclu~ed from filing a petit.ion for writ of habeas corpus,
              provided, howe1.·er, the relief sought in any such petition on its
              face    clearly       concerns only the          legality        of       a   convict.ion   and

              continued incarceration.




                              Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 20 of 35
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                   T.he ClEu;:k._ of Court is ~.IREC'rEO to distriho. te c:opi.e.s fj_f

       this order and inj~netion to-.all jttdges- in th.is- distric-t.




                  After .r..eeei.v.i11g and-red~i.ng Mr. Willis' Res_po~e to tho
      instant Ord-e.r to .Show- .cause,. tne· court will u.otic~ a he~.cing
      the.reon 1 _ if it deems ~~es:s~- It aot., the Court will rule on the
      record. .Again, M: •. Willis is ca«.tioned· that hi:s f-a.ilw:-a to timely
      .r.e~pond: fully to this order ~-ill .i:e:$--U.lt. in entry qf the abov~
      quoted P~onanent I.njunction<        ar.. Willis is a.d'lilise.d to s-eek tha
      advice of eou11sel. in relation to thi.-s .ma.t.te.r.
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                Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 21 of 35
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              on S-ept_~r 21,. 1995,. Mr .. Willis filed a r-esponsa to the
 court's Order to Shmt cau.e# and the court set. a nearing on its
 ·Order to Show :Cause "for Octcber 25, 1395.               :rn preparation £-or that
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                   Case 4:06--cv-00143-F



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  .-~ ~ .-__•: niember.::telling. _Willis there ·was·:·.- up ·some adjoining land_ intended close to his house as. legally pos•
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                                                                                                                                                   10/20/08
                             External Discrimination Complaint Form

               (Title VI/Nondiscrimination and ADA/Section 504 Complain ts)


Name                                Phone                                 Name of Person(s) That Discriminate d Against
                                                                          You
Daniel Johnson Willis               252-448-6091                          1. Town of Trenton, NC
                                                                          2. The Town Board of Trenton


Address                                                        Location and Position of Person (If Known)
P. 0. Box 397
105 Cherry Street


City, State, Zip                                               City, State, Zip
Trenton, NC 28585




Discrimination      -~ Race         • Color           • National Origin      D Sex      Date of Alleged Incident
Because of:
                                                                                        On-going
                     • Age          • Disability      D Retaliation


                                                                                                           Who Was
Explain As Briefly And Clearly As Possible What Happened And How You Were Discriminate d Against Indicate
Involved. Be Sure To Include How Other Persons Were Treated Differently Than You. Also Attach Any Written Material
Pertaining To Your Case.

1. A history of discriminatio n
2. Annexation
3. Vote dilution
4. Lack of responsiveness by elected officials to the needs of the minority community and a discriminato ry or irrational
    policy underlying the use of the challenged practice.
5.  The extent to which minorities have been elected to office, whereas, minorities are entitled to a proportional , or
    equal, opportunity to elected ca_ndidates of their choice.
6. The right to participate equally in the political process
7. At - large elections~ voting as a bloc
8. Majority vote requirement dilute minority voting strength; see, Delma Dove vs. Ron Metts, Clerk of Court, Jones
    County, on or about 1964, Trenton, North Carolina
9. Anti - single shot laws
10. Jurisdiction - racial - as to redistricting process
11. Polarization
12. Despite the deniable progress, minorities clearly [in Trenton, Jones County, North Carolina] have not yet achieved
    equality of political participation , as measured by office - holding and voter registration and turnout



                                                                Date

                                                                July 6, 2011




        Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 26 of 35
                                                               _t- ~1 /J
                                 External Discrim ination Compla int Form

                       (Title VI/Nondiscrimination and ADA/Section 504 Complaints)

Name                               Phone                             Name of Person(s) That Discriminated Against You
                                                                     1. Town of Trenton, NC
Daniel Johnson Willis              252-448-6091                      2. The Town Board of Trenton, NC

Address                                                     Location and Position of Person (If Known)

P.O. Box 397
105 Cherry Street

City, State, Zip                                            City, State, Zip

Trenton, NC 28585

                                            D    National Origin D                 Date of Alleged Incident
Discrimination      Ox Race   D Color                                 Sex
Because of:
                    • Age     D Disability D Retaliation                           On-going

                                                                                        ted Against. Indicate Who Was
Explain As Briefly And Clearly As Possible What Happened And How You Were Discrimina
                             How  Other Persons Were Treated Differently Than You. Also Attach Any Written Material
Involved. Be Sure To Include
Pertaining To Your Case.



The Town of Trenton and the Town Board are committing on-going discrimination
against the black residents within the following five areas in Trenton, NC: Haiti
Town, Monk Town, Spicey Quinn Land, Landfill Area, and Back Street Extension.
These black areas request to be annexed into the Town of Trenton.

The black areas surround the Town of Trenton. The Town of Trenton has a majority
of white residents, with only approximately 30 black residents.

I believe the black areas are being discriminated against because some of the areas
do not have City sewage, curbs, gutters, sidewalks, or storm drainage.

In addition, the Town Board does not have any black members, although several
requests have been mad~.




                   Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 27 of 35
                            IN THE UNITED S:A TE S DIS TR
                       FOR Tri E EASTERN DISTRICT OF              ICT COURT
                                                                 NORTH CA RO L!N A
                                            E,.'.,STERN 01\ /!SI ON

                                        CAS'E NO:    L; :S9 -CV -4-H {3}



  0. JO HN SO N WILLIS, et el.,
                                          )
                                          )
                          Plaintiffs.     )
                                          )
                 vs.                      )
                                          )                                AFF IDA VIT OF
  T0 1NN OF TRENTON. et al.,
                                          )                       CHARLES C. JONES, JR.
                                        )
                         Def end ant s. )
                                        )

         i, CH AR LES C. JONES, JR., afte
                                                  r :ein ~ duly s·Norn, de; :cs e and
                                                                                        say:
         "1.    I am ove r the age of eighteen and
                                                           am a ;es ide nt cf the Town of Tre
                                                                                                nton,
 North Carofina.

        2.      That I serve as Councilman to the
                                                  Town Seard cf Tre nto n, and have
 served at this cap aci ty for   &      years.

        3.     That the Town Board of Trenton doe
                                                 s not             endorse, con don e or sup por t
racism in any shape, form or ma
                                        nner.

       4.      That the Tow n Board of Trenton
                                                       doe s not hav e a policy or zon ing
ordinance which supports racism
                                        , regarding the annexation of the blac
                                                                              K communities
of Haiti, Mo nkt own and Spicey
                                     Quinn.




     Case
      Case4:20-cv-00230-FL
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Sworn to ar.d subscribed before me
this the 19th day of April, 1999.


   ID~fub11~~
My commission exp·ires:        9?1-k;        ,:'.lr ;JOQ_j




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                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                          WASHINGTON, D.C. 20460



                                                           EXTERNAL CIVIL RIGHTS COMPLIANCE OFFICE
                                                                 OFFICE OF GENERAL COUNSEL

March 5, 2021

In Reply Refer to:
EPA Complaint No. 0lR-21-R

Mr. Daniel J. Willis
Jones County Improvement Association, Inc.
105 Cherry Street
Trenton, NC 28585

Re: Acknowledgement of Administrative Complaint

Dear Mr. Willis:

This letter is to notify you that the U.S. Environmental Protection Agency (EPA), External Civil
Rights Compliance Office (ECRCO), received your correspondence on March 3, 2021 involving
the Town of Trenton, NC alleging discrimination based on race in violation of Title VI of the
Civil Rights Act of 1964.

ECRCO is responsible for processing and resolving complaints alleging discrimination by
programs or activities that receive financial assistance from the EPA. ECRCO will review the
correspondence in light of EPA's nondiscrimination regulation to determine whether it is a
complaint that falls within ECRCO's jurisdiction. Once this jurisdictional review is completed,
ECRCO will notify you as to whether it will accept the complaint for investigation, or reject, or
refer the complaint to another Federal agency.

Please be advised that, if your complaint is accepted for investigation, a copy of the complaint
will be shared with the Recipient, consistent with 40 C.F.R. § 7.120(e). ECRCO will release the
complaint with appropriate redactions consistent with the Freedom of Infonnation Act (FOIA)
and the Privacy Act) and will only release identifying information to the extent necessary to
comply with 40 C.F.R. Parts 5 and 7. [1]




[1] Freedom of Information Act, 5 U.S.C. § 552(b)(6) and (7)(c) and the Privacy Act of 1974, 5 U.S.C. § 552a.


      Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 30 of 35
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       destrcyed earlier -::own :-eccrds.                               '!'h.is    is & shame 1  becs.:.:.se ..-~
       f~una a number of                                  interest:ng items in tbe min~tes.             Below is a
       s ... .::ima:::-y list.

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       beron~ c~rpora~e ~imits •

• /         Sept. ~S,                    l 943.
                               Town pe.ys · for sewe:- cc~:iection for Hrs.
V     J.C. ~core who apparen:ly   lived ou~side the corporate limits.
      She app~rent.ly financed the cost for 2 rearsa

           q_c:.:t!;:;;.-;:r.et,,_·;.·;$.~"9? . Town passes ordinance: "persons of color
      and/or persons of un1:I-es:Lra.ble character and                    ::.-eputation be
      prchibi ted from ;purcha.$ing lands .-i th-in the residential area i:c.
      said Town, wheth~r said prope:ty contempl~ted to be purchased be
      f~r business or residential use."                                              ·
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      relati~e to t.c~n li:its.                                tis=~ssed need for town survey.

             He.y 16, 1952.   Ex~er.ded sewage and ~reinage ~o Mr.?..~.
      Durha..m.    Town ex~e~cied ~cwn li~its ~c incl~Ce Hr. Dur~am, ~~~ ac
      his expense.

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    between town and hwy fund.




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               Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 31 of 35
                                 UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                       EASTERN DIVISION


DANIEL J. WILLIS ·                                    )
                            Plaintiff,                )
                                                      )
v.                                                    )     JUDGMENT
                                                      )
                                                      )     No. 4:20-CV-230-FL
JONES COUNTY BOARD OF                                 )
EDUCATION and NORTH CAROLINA                          )
STATE BOARD OF ELECTIONS and/or                       )
their successors,                                     )
                  Defendants.                         )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of defendant's motion to dismiss.                                       ··

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court's order entered
June 3, 2021, and for the reasons set forth more specifically therein, the court DISMISSES the
instant action on the basis of the court's pre-filing injunction. In addition, and in the alternative,
defendant NCSBE's motion to dismiss is GRANTED, and plaintiffs claims against defendant
NCSBE are DISMISSED for failure to state a claim upon which relief can be granted. Further,
the court adheres to its April 14, 2021, order dismissing claims against defendant Jones County
Board of Elections pursuant to Rule 4(m). Accordingly, plaintiffs action is DISMISSED as to,all
defendants.

This Judgment Filed and Entered on June 3, 2021, and Copies To:
Daniel J. Willis (via US Mail) 105 Cherry Street, Trenton, NC 28585
Paul M. Cox/ Terence Steed (via CM/ECF Notice of Electronic Filing)


June 3, 2021                                     PETER A. MOORE, JR., CLERK

                                           Isl Sandra K. Collins
                                   _ _ _ (By) Sandra K. Collins, Deputy Clerk
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     PeterA. Mooni~lerk
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              Case 4:20-cv-00230-FL Document 32 Filed 06/03/21 Page 1 of 1
           Case 4:20-cv-00230-FL Document 33 Filed 06/11/21 Page 32 of 35
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MAY a4 r~gz.                                                                                            .

 M.=. Hor ace E. Phi llip s, Cha ir.na n
 Jone s Cou nty Boa rd cf Com miss ione ~s, Jone s
 P.O . Box 265                                     Cou nty
 Mar ke~ St:e et at Jone s Stre et
 Tre nton , Nor th Car olin a 28585
                                                                            Efll~*
. RE:         C37 0442 -03 and C37 0089 -0l
            . Cit y of T:re nton and Jone s . Cou.n:t:y
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Cha ir.na n of the Boa rd, Jone s Cou nty Imp rove          o. John son Wi.l.l.:.,s1
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aga inst the City of T:re nton . a.rid Jone s Cou    Dep   artm  ent of Jus tice ,
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inve s~ig ated thes e alle gati ons a..nd has foun
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            incl ade d Tren ton- ·and par ts of Jone s Cou nty.        a.1:ea. tha t
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            0     On Sep tam be: 29·, 1978 , · the Town/ of Tre
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                  to con stru ct a . · o. 07MC:iD: acti vate :d slud ge for $254 ,789
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                  the yea: r 2000 plan ning area pop ulat ion of 960.     serve 74% of
                 On s_e pt~ er 29, l.988 , Jone s Cou nty,
                 rece ived EPA Gra nt No. 370 789 -0l fo: $11Nor th . Cuo lina
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                 clai m,  the Reg iona l Dir ecto r of Civ
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  re ve al ed th at tw o co mmin th e pl an ni ng ar ea .                         Yo ur as se ss me
  Qu inn an d Monkt:own, re quun iti es wi th in th e pl an ni ng ar ea , Sp icent                      y
  sh ou ld ta ke im me dia te ste ps       ire d se we r se rv ic es .          Accorciin.gly, you.
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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     EASTERN DIVISION

                                     CASE NO. 4:20-CV-230-FL


                              Motion DENIED.
DANIELJ. WILLIS               This the _E__ day of December       20 20.
          Plaintiff
                              ls/Louise W. Flanagan, U.S. District Judge
      V

JONES COUNTY BOARD OF ELECTIONS, ET. AL.
             Defendants




                           SECOND AMENDMENT FED R CIVIL P 15 [CJ

There are too many people hurting for the court to deny, without clearly and adequately,
viewing, and/or, reviewing [not cursory], any and all evidence involved on 12/15/2020, as to
irregularities in Case No. 4:20-CV-230-FL.

Here, finding new expedite orders for said "CV" Cases or others "MC" Cases, embarking from
1995- 2020, without success [before Judge M.J. Howard], on new or turnaround ventures that
entails discrimination, and/or, Civil Rights, and where the court knows, for a fact, that plaintiff is
correct, without a doubt, but offers the potential for the above cases, in its entirety, as to its
future hearings, "nil and none" [proof].

The proving that the plaintiff [prose] before this court is the very same or alleged to be, where
the evidence recognizes the plaintiff as the same person whom it saw as the same person who
filed and paid for said civil procedures, where amendment should be allowed and where the
plaintiff sought that his "factual and legal "basis was joined so closely related in said activities
that the institution of this action against the plaintiff, who served notice of litigation "at-large
election," and hence the order should relate back.

The text order regarding motion to expedite, where plaintiff fails to offer either a factual or
legal basis for expedited proceedings in this matter. This transaction was entered on
12/15/2020 at 3:43 PM EST. and filed on 12/15/2020, and accordingly, the motion to expedite
was denied on 12/15/2020 between 3:43 PM EST and 5 o'clock PM EST, [not enough time) to
deny clearly and adequately expedited proceedings. See, Exhibit marked as# 1.




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